           Case 2:10-cr-00328-JCC         Document 338       Filed 05/21/14     Page 1 of 1




                                                   THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8

 9      UNITED STATES OF AMERICA,                        CASE NO. CR10-0328-JCC
10                           Plaintiff,
                                                         MINUTE ORDER
11            v.

12      FRANZIE F. COLACO,
13                           Defendant.
14

15

16         The following Minute Order is made by direction of the Court, the Honorable John C.
17 Coughenour, United States District Judge:

18         The trial date of June 30, 2014, in this matter is VACATED. Trial is rescheduled for July
19 2, 2014 at 9:30 a.m.

20         DATED this 21st day of May 2014.
21                                                       William M. McCool
                                                         Clerk of Court
22

23                                                       s/Mary Duett
                                                         Deputy Clerk
24

25

26



     MINUTE ORDER, CR10-0328-JCC
     PAGE - 1
